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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
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11     JOSE LUIS SANDOVAL,                            Case No.: 2:21-cv-07011-MCS-AGR
12                  Plaintiffs,
                                                      ORDER REMANDING CASE TO
13           v.                                       STATE COURT
14     FCA US LLC; and DOES 1 through 20,
       inclusive,
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                    Defendants.
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             The Parties have filed a stipulation in this case agreeing that Plaintiff’s total

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       damages in this matter, excluding attorneys’ fees and costs, do not exceed $75,000.

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       Based on the stipulation of the Parties and because this case was removed on the basis

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       of diversity jurisdiction, it now appears that the Court lacks subject-matter jurisdiction

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       over the case (see 28 U.S.C. § 1332(a)). As a result, the Court REMANDS the matter to

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       the Los Angeles County Superior Court, 21STCV27020.

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             IT IS SO ORDERED.

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       Dated: October 12, 2021
27                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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